    Case: 1:17-cv-01640 Document #: 65 Filed: 09/12/17 Page 1 of 5 PageID #:1628



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                   Plaintiffs,

       v.                                                Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                         Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 – 50, inclusive,

                   Defendants.


                                 PLAINTIFFS’ STATUS REPORT

       Plaintiffs Bill A. Busbice, Jr., Ollawood Productions, LLC, and Ecibsub LLC submit the

following Status Report to request that the Court address certain outstanding case management

issues in the above-captioned matter at the status conference presently scheduled for September

27, 2017 at 9:00 a.m.

       1.      Defendants’ Pending Motion to Dismiss

       This matter originally was filed in the Central District of California before Judge Percy

Anderson. On January 23, 2017, along with their motion to transfer venue, Defendants Adrian

Vuckovich and Collins, Bargione & Vuckovich (“Defendants”) filed a Rule 12(b)(6) Motion to

Dismiss Counts 1 and 2 of the Second Amended Complaint (Dkt. 24). In granting the motion to

transfer to this district, Judge Anderson “declin[ed] to address Defendants’ motion to dismiss for

failure to state a claim” finding that “[t]hose issues are best addressed by the Northern District of

Illinois.” (March 1, 2017 Order (Dkt. 30).) Pursuant to the Minute Order this Court issued on

March 23, 2017 (Dkt. 50), Defendants refiled their motion to dismiss, along with Plaintiffs’
    Case: 1:17-cv-01640 Document #: 65 Filed: 09/12/17 Page 2 of 5 PageID #:1629



response, declaration in support of the response, and request for judicial notice, and Defendants’

reply. (See Dkt. 51 through 55, respectively.) Accordingly, the motion to dismiss is fully

briefed, but is still pending before this Court. Because the motion is still pending, Defendants

have not yet answered the operative Second Amended Complaint. (See Dkt. 21.)

       2.      Protective Order

       Previously, in a Joint Initial Statue Report filed with the Court on April 4, 2017 as well as

in person at the April 12, 2017 status hearing, the parties agreed to entry of a protective order

pursuant to Rule 26(c) and Local Rule 26.2. Specifically, the Joint Initial Statue Report states

“the parties request that the court enter the proposed order attached hereto as Exhibit B as the

protective order governing the case.” (Dkt. 57.) The parties have been operating under the

agreement that the protective order was entered as of the date of the status hearing held on April

12, 2017 but Plaintiffs would request that the Court formally enter the protective order that is

reattached to this document as Exhibit 1.

       3.      Appointment of Magistrate Judge

       A magistrate judge has not yet been appointed in this matter. While Plaintiffs do not

presently anticipate that there will be a discovery dispute, Plaintiffs intend to continue to move

forward in discovery, including depositions, and thus request that a magistrate judge be

appointed in the event a discovery dispute should arise. As discussed below, Plaintiffs also

believe that the appointment of a magistrate judge may be productive for the purposes of

facilitating a settlement conference.




                                                -2-
    Case: 1:17-cv-01640 Document #: 65 Filed: 09/12/17 Page 3 of 5 PageID #:1630



        4.      Scheduling a Trial Date

        This Court’s April 12, 2017 Minute Order (Dkt. 59)(the “April 12 Order”) set forth the

discovery schedule in this matter, but did not set forth a trial date. Plaintiffs respectfully request

that this Court set a trial date of June 15, 2018, with a pretrial conference date of June 4, 2018.

Plaintiffs estimate that the trial in this matter will take three to five days.

        5.      Settlement

        The April 12 Order mandated that the parties “be prepared to discuss whether a

settlement conference before the magistrate judge would be helpful.” Plaintiffs believe that such

a conference would be helpful and request that one be scheduled upon the appointment of a

magistrate judge in this matter.




                                                  -3-
   Case: 1:17-cv-01640 Document #: 65 Filed: 09/12/17 Page 4 of 5 PageID #:1631



Dated: September 12, 2017            Respectfully submitted,


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                                       -4-
    Case: 1:17-cv-01640 Document #: 65 Filed: 09/12/17 Page 5 of 5 PageID #:1632



                               CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of the above and foregoing pleading was served on

September 12, 2017 via the Court’s CM/ECF system on all counsel of record.




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